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                       EXHIBIT B
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

  CATHERINE ALEXANDER,

                     Plaintiff,

  v.                                                         Case No. 3:18-cv-0966-SMY

  TAKE-TWO INTERACTIVE SOFTWARE,                             JURY TRIAL DEMANDED
  INC., 2K GAMES, INC., 2K SPORTS INC.,
  WORLD WRESTLING ENTERTAINMENT
  INC. and VISUAL CONCEPTS
  ENTERTAINMENT,

                    Defendants.

                                  PLAINTIFF’S TRIAL WITNESS LIST

          Pursuant to the Court’s Case Management Procedures and Fed. R. Civ. P. 26(a)(3),

 Plaintiff identifies the following list of witnesses she intends to call to testify at trial, either in

 person or by deposition designation. Plaintiff reserves the right to call a witness listed by

 Defendants and to call any additional witnesses in rebuttal to those witnesses called by

 Defendants.

       1. Catherine Alexander

       2. Dr. Jose Zagal, Plaintiff’s Technical expert

       3. Ryan Clark, Plaintiff’s Damages expert

       4. Take-Two Defendants via corporate representative deposition of Mark Little

       5. Take-Two Defendants via corporate representative deposition of Chris Snyder

       6. WWE via corporate representative deposition of Edward Kiang

       7. Any witness, employee, officer, or representative of any Defendant who is present in the

 courtroom at any point during trial.




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 Dated: September 18, 2020                          Respectfully submitted,

                                                    /s/ Anthony G. Simon
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                                                    Attorneys for Plaintiff

                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon all counsel of record via

 this Court’s CM/ECF system on September 18, 2020.

                                                    /s/ Anthony G. Simon




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